                                                                           Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 1 of 9




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                                                                      Alfonso Elenes Contreras

                                                                 11                       UNITED STATES DISTRICT COURT
                                                                                               DISTRICT OF NEVADA
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                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                                                                  :   Civil Action No.:
                                                                 14                                               :
                                                                      ALFONSO ELENES CONTRERAS,                   :
                                                                 15
                                                                                                                  :   COMPLAINT FOR DAMAGES
                                                                 16                       Plaintiff,              :   PURSUANT TO THE FAIR
                                                                 17          v.                                   :   CREDIT REPORTING ACT, 15
                                                                                                                  :   U.S.C. § 1681, ET SEQ.
                                                                 18   THE RETAIL EQUATION, INC,                   :
                                                                 19                                               :   JURY TRIAL DEMANDED
                                                                                          Defendant.              :
                                                                 20
                                                                                                                  :
                                                                 21                                     INTRODUCTION
                                                                 22      1. The United States Congress has found the banking system is dependent upon
                                                                 23
                                                                            fair and accurate credit reporting. Inaccurate credit reports directly impair the
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                                                                 25         efficiency of the banking system, and unfair credit reporting methods
                                                                 26
                                                                            undermine the public confidence, which is essential to the continued
                                                                 27
                                                                            functioning of the banking system. Congress enacted the Fair Credit
                                                                 28
                                                                         Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 2 of 9




                                                                         Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to ensure fair and accurate
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                                                                 2       reporting, promote efficiency in the banking system, and protect consumer
                                                                 3
                                                                         privacy. The FCRA seeks to ensure consumer reporting agencies exercise
                                                                 4

                                                                 5       their grave responsibilities with fairness, impartiality, and a respect for the
                                                                 6
                                                                         consumer’s right to privacy because consumer reporting agencies have
                                                                 7
                                                                         assumed such a vital role in assembling and evaluating consumer credit and
                                                                 8

                                                                 9       other information on consumers. The FCRA also imposes duties on the
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                                                                         sources that provide credit information to credit reporting agencies, called
                                                                 11
                                                                         “furnishers.”
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                                                                 13
                                                                      2. Through a tightly wound set of procedural protections, the FCRA protects
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                                                                         consumers from the material risk of harms that otherwise flow from inaccurate
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                                                                 16      reporting. Thus, through the FCRA, Congress struck a balance between the
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                                                                         credit industry’s desire to base credit decisions on accurate information, and
                                                                 18

                                                                 19      consumers’ substantive right to protection from damage to reputation, shame,
                                                                 20
                                                                         mortification, and the emotional distress that naturally follows from
                                                                 21
                                                                         inaccurate reporting of a consumer’s fidelity to his or her financial
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                                                                 23      obligations.
                                                                 24
                                                                      3. Alfonso Elenes Contreras (“Plaintiff”), by Plaintiff’s attorneys, brings this
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                                                                 26      action against The Retail Equation, Inc (“TRE” or “Defendant”) for
                                                                 27
                                                                         violations of the FCRA, as set forth below.
                                                                 28
                                                                          Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 3 of 9




                                                                                                    JURISDICTION AND VENUE
                                                                 1

                                                                 2
                                                                      4. This Court has federal question jurisdiction because this case arises out of

                                                                 3        violations of the FCRA. 15 U.S.C. § 1681 et seq.; 28 U.S.C. § 1331; Smith v.
                                                                 4
                                                                          Community Lending, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).
                                                                 5

                                                                 6    5. Venue is proper in the United States District Court for the District of Nevada
                                                                 7
                                                                          pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
                                                                 8

                                                                 9
                                                                          County, Nevada and because Defendant is subject to personal jurisdiction in

                                                                 10       Clark County, Nevada; conducts business in Clark County, Nevada; and the
                                                                 11
                                                                          events giving rise to this action occurred in Clark County, Nevada.
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                                                                                                          PARTIES
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                                                                 13

                                                                 14   6. Plaintiff is a natural person residing in the County of Clark, State of Nevada. In
                                                                 15
                                                                          addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                                                 16

                                                                 17
                                                                          1681a(c).

                                                                 18   7. TRE regularly assembles and/or evaluates consumer credit information for the
                                                                 19
                                                                          purpose of furnishing consumer credit reports to third parties, and uses
                                                                 20

                                                                 21       interstate commerce to prepare and/or furnish the reports. TRE is a “consumer
                                                                 22
                                                                          reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).
                                                                 23

                                                                 24
                                                                      8. Unless otherwise indicated, the use of Defendant’s name in this Complaint

                                                                 25       includes all agents, employees, officers, members, directors, heirs, successors,
                                                                 26
                                                                          assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                                                 27

                                                                 28       of Defendant.
                                                                         Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 4 of 9




                                                                                         TRE Misreported Credit Information
                                                                 1

                                                                 2    9. On or about August 11, 2020, Plaintiff received a credit file disclosure from
                                                                 3
                                                                         TRE which reported inaccurate, incorrect or misleading information regarding
                                                                 4

                                                                 5       Plaintiff and Plaintiff’s credit.
                                                                 6
                                                                      10. Specifically, TRE reported derogatory information that Plaintiff returned
                                                                 7
                                                                         purchased products back to Home Depot on November 28, 2011 without a
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                                                                 9       receipt, as shown below:
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                                                                      11. TRE’s report is designed to paint Plaintiff in a negative light, making it
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                                                                 15      appear Plaintiff is engaging in some sort of nefarious scheme by returning a
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                                                                         purchased item to Home Depot without a receipt. There is no other reason to
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                                                                 18      report such information.
                                                                 19
                                                                      12. The FCRA expressly prohibits reporting such adverse items of information
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                                                                         which antedate the report by more than seven (7) years.         15 U.S.C. §
                                                                 21

                                                                 22      1681c(a)(5).
                                                                 23
                                                                      13. TRE’s Home Depot return information antedates the report by nearly nine (9)
                                                                 24

                                                                 25      years, making TRE’s Home Depot information obsolete and TRE should have
                                                                 26
                                                                         purged the Home Depot information from Plaintiff’s credit report years ago.
                                                                 27

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                                                                         Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 5 of 9




                                                                      14. Accordingly, on or about December 14, 2020, pursuant to 15 U.S.C. §
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                                                                 2       1681i(a)(2), Plaintiff notified TRE, in writing, of the incorrect, inaccurate or
                                                                 3
                                                                         misleading Home Depot information it was reporting.
                                                                 4

                                                                 5    15. Specifically, Plaintiff mailed a dispute letter, first class U.S. Mail, to TRE
                                                                 6
                                                                         (“Dispute Letter”), requesting that the above inaccurate, incorrect or
                                                                 7
                                                                         misleading information be removed and deleted. In pertinent part, the Dispute
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                                                                 9       Letter read as follows:
                                                                 10

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                                                                      16. Upon receiving Plaintiff’s Dispute Letter, TRE was required to conduct an

                                                                 16      investigation into the credit disputes pursuant to 15 U.S.C. §1681i, including
                                                                 17
                                                                         timely notifying Home Depot of Plaintiff’s credit dispute, and then send
                                                                 18

                                                                 19      Plaintiff a reinvestigation report, detailing the results of TRE’s investigation.
                                                                 20
                                                                      17. On or about November 11, 2020, Plaintiff received a reinvestigation from
                                                                 21

                                                                 22
                                                                         TRE. However, the reinvestigation made no reference to the obsolete Home

                                                                 23      Depot account at all nor a description of what action, if any, TRE had taken
                                                                 24
                                                                         with regard to the Home Depot account.
                                                                 25

                                                                 26   18. A reasonable investigation by TRE would have shown the disputed Home
                                                                 27
                                                                         Depot return was an obsolete item and explained that it has been removed or
                                                                 28
                                                                         Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 6 of 9




                                                                         deleted from Plaintiff’s credit file pursuant to the FCRA’s statutory
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                                                                 2       requirements.
                                                                 3
                                                                                              FIRST CAUSE OF ACTION
                                                                 4                 VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                 5                        15 U.S.C. § 1681 ET SEQ. (FCRA)
                                                                 6
                                                                      19. Plaintiff incorporates by reference all the above paragraphs of this Complaint
                                                                 7
                                                                         as though fully stated herein.
                                                                 8

                                                                 9    20. Defendant failed to conduct a reasonable investigation as required by 15
                                                                 10
                                                                         U.S.C. § 1681i(a).
                                                                 11
                                                                      21. Defendant failed to review all relevant information provided by Plaintiff in
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                                                                 13
                                                                         the Dispute Letter, as required by and in violation of 15 U.S.C. § 1681i(a).
                                                                 14
                                                                      22. Upon receipt of Plaintiff’s dispute, Defendant failed to conduct an
                                                                 15

                                                                 16      investigation with respect to the disputed information as required by 15 U.S.C.
                                                                 17
                                                                         § 1681i(a).
                                                                 18

                                                                 19   23. Despite Plaintiff’s continued efforts to correct Defendant’s erroneous and
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                                                                         negative reporting in writing, Defendant neglected, refused, or failed to do so.
                                                                 21
                                                                      24. Defendant’s failure to correct its inaccurate and negative reporting debt in
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                                                                 23      light of its knowledge of the actual error was willful. Plaintiff is, accordingly,
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                                                                         eligible for statutory damages.
                                                                 25

                                                                 26   25. Also as a result of Defendant’s failure to correct its inaccurate and negative
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                                                                         reporting, Plaintiff has suffered actual damages, including without limitation
                                                                 28
                                                                            Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 7 of 9




                                                                            fear of credit denials, out-of-pocket expenses in challenging Defendant’s
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                                                                 2          wrongful representations, damage to his creditworthiness, and emotional
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                                                                            distress.
                                                                 4

                                                                 5       26. The foregoing acts and omissions constitute numerous and multiple willful,
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                                                                            reckless, or negligent violations of the FCRA, including but not limited to
                                                                 7
                                                                            each and every one of the above-cited provisions of the FCRA, 15 U.S.C. §
                                                                 8

                                                                 9          1681.
                                                                 10
                                                                         27. As a result of each and every willful violation of the FCRA, Plaintiff is
                                                                 11
                                                                            entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
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                                                                 13
                                                                            1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1); punitive
                                                                 14
                                                                            damages as the Court may allow pursuant to 15 U.S.C. § 1681n(a)(2); and
                                                                 15

                                                                 16         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681n(a)(3) from
                                                                 17
                                                                            Defendant.
                                                                 18

                                                                 19      28. As a result of each and every negligent noncompliance of the FCRA, Plaintiff
                                                                 20
                                                                            is entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 21
                                                                            1681o(a)(1); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
                                                                 22

                                                                 23         1681o(a)(2) from Defendant.
                                                                 24
                                                                                                    PRAYER FOR RELIEF
                                                                 25
                                                                            Plaintiff respectfully requests the Court grant Plaintiff the following relief
                                                                 26

                                                                 27   against Defendant:
                                                                 28
                                                                           Case 2:21-cv-00691-APG-VCF Document 1 Filed 04/26/21 Page 8 of 9




                                                                                               FIRST CAUSE OF ACTION
                                                                 1
                                                                                     VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                 2                          15 U.S.C. § 1681 ET SEQ. (FCRA)
                                                                 3
                                                                          • actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
                                                                 4

                                                                 5        • statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
                                                                 6
                                                                          • punitive damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 7

                                                                 8           1681n(a)(2);
                                                                 9
                                                                          • costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C. §
                                                                 10
                                                                             1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendant for each
                                                                 11
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                                                                             incident of negligent noncompliance of the FCRA; and
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                                                                 13
                                                                          • any other relief the Court may deem just and proper.
                                                                 14

                                                                 15                                      TRIAL BY JURY
                                                                 16     29. Pursuant to the Seventh Amendment to the Constitution of the United States
                                                                 17
                                                                           of America, Plaintiff is entitled to, and demands, a trial by jury.
                                                                 18

                                                                 19
                                                                      Dated: April 26, 2021
                                                                 20

                                                                 21                                         Respectfully submitted,
                                                                 22
                                                                                                            By     /s/ David Krieger, Esq.
                                                                 23                                                David Krieger, Esq.
                                                                 24
                                                                                                                   Nevada Bar No. 9086
                                                                                                                   Shawn Miller, Esq.
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